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                                  UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY
                                               United States Courthouse
                                            402 East State Street, Room 255
                                              Trenton, New Jersey 08608

 Hon. Christine M. Gravelle                                                                 609-858-9370 
 United States Bankruptcy Judge                                                     Fax   609-989-0431

                                          LETTER DECISION

                                                               October 22, 2015

 Sent via ECF & email

 Eric L. Leinbach, Esq.
 1603 Butler Street
 Easton, PA 18042                                              office1603@rcn.com

 Albert Russo, Esq.
 Standing Chapter 13 Trustee
 CN 4853
 Trenton, NJ 08650-4853                                        docs@russotrustee.com

          Re:      Gary and Michele Morrison
                   Chapter 13 – Case No. 14-13436 (CMG)
                   Application for Compensation of Debtors’ Attorney

 Dear Litigants:

                                                   Introduction

          This matter comes before the Court on remand from the United States District Court (the

 “District Court”) for clarification of this Court’s reduction of attorney fees awarded to Eric

 Leinbach, counsel to the Debtors. Mr. Leinbach submitted a request for allowance of fees in the

 amount of $19,500.00. The amount sought was less than the amount incurred, as Mr. Leinbach

 had voluntarily reduced his fee by $1,044.00 prior to filing the fee application. This Court

 further reduced the amount sought by $1,956.00, resulting in a final fee award of $17,544.00.

 Because this Court did not provide sufficient reasons for the reduction on the record, we do so

 now and provide the basis in law for the reductions.
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                                                                  Jurisdiction and Venue

               The Court has jurisdiction over this contested matter under 28 U.S.C. §§ 1334(a) and

 157(a) and the Standing Order of the United States District Court dated July 10, 1984, as

 amended October 17, 2013, referring all bankruptcy cases to the bankruptcy court. This matter is

 a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A). Venue is proper in this Court

 pursuant to 28 U.S.C. § 1408. Pursuant to Fed. R. Bankr. P. 7052, the Court issues the following

 findings of fact and conclusions of law.


                                                                Facts and Procedural History

               The history of this underlying bankruptcy filing informs the analysis of the fee

 application and will be briefly discussed herein. On February 27, 2014 Debtors filed a Chapter 7

 bankruptcy petition through prior counsel. The docket reflects that the Chapter 7 Trustee

 retained counsel and an accountant, and sent a Notice of Assets to the creditors in the case.

 Shortly thereafter, on April 9, 2014, Mr. Leinbach substituted in as attorney.

               After substituting in as counsel, Mr. Leinbach engaged in the following motion practice:
               -       Motion to Convert Case to Chapter 13
               -       Motion to Disgorge Prior Counsel’s Attorneys Fees1
               -       Defense against Chapter 7 Trustee’s Objection to Debtors’ Exemptions
               -       Motion for Turnover of Property Requiring Prior Counsel to Turnover Debtors’ Case
                       File
               -       Objection to Chapter 7 Trustee’s Counsel’s Attorneys Fees
 Each of these matters was contested. The outcomes were mixed. Ultimately, the case was

 converted to Chapter 13. Prior counsel was instructed to disgorge its fees in the amount of

 $1,294.00 to Debtors. Due to the conversion of the case, the Chapter 7 Trustee withdrew his

 objection to Debtors’ exemptions. The Chapter 7 Trustee’s Counsel’s Fee Application was

                                                             
 1
      The Motion to Convert and Motion to Disgorge were contained in the same filing 
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 reduced from $9,925.00 to $8,000.00. The Motion for Turnover was denied as moot, as prior

 counsel certified that he had turned over the file to Debtors in advance of the filing of the

 motion.

        In addition to the motion practice, Mr. Leinbach worked towards a confirmable Chapter

 13 plan for debtors. By order dated December 19, 2014, this Court confirmed a plan that

 required total payments of $55,800.00, with included a minimum dividend of $20,070.00 to

 general unsecured creditors.

        Also in December 2014, Mr. Leinbach filed his Application for Compensation,

 requesting $19,500.00 in fees and $90.00 in expenses. The amount requested included a

 reduction in Mr. Leinbach’s fees from $20,544.00 to the $19,500.00 figure. At the January 7,

 2015 hearing he stated that the purpose of the reduction was so that the amount did not impact

 plan payments. The Chapter 13 Trustee objected, and on January 7, 2015 this Court reduced the

 total amount of fees by a sum of $3,000.00 from the original $20,544.00 amount to $17,544.00.

 Mr. Leinbach appealed, and the District Court remanded the matter to this Court to more fully

 describe the basis for the reduction.

                                           Legal Analysis

        11 U.S.C. 330 provides for “reasonable compensation for actual, necessary services”

 rendered by professionals employed under 11 U.S.C. 327. 11 U.S.C. 330(a)(1). A court may

 award compensation that is less than the amount of compensation that is requested. 11 U.S.C.

 330(a)(2). The Code instructs courts to disallow compensation for unnecessary duplication of

 services, or for services that were not reasonably likely to benefit the debtor's estate or necessary

 to the administration of the case. See 11 U.S.C. § 330(a)(4)(A). This Court’s local rules outline
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 the required form of an application for fees. See D.N.J. LBR 2016-1(b). The local rule requires

 the applicant to provide, among other things,

                 A narrative explanation of the nature of the work performed and the
                 results achieved. The narrative portion of the application shall inform the
                 court of the circumstances that are not apparent from the activity
                 descriptions or that the applicant wishes to bring to the attention of the
                 Court, including, but not limited to, special employment terms, billing
                 policies, expense policies, voluntary reductions, reasons for the use of
                 multiple professional persons for a particular activity, or reasons for
                 substantial time billed relating to a specific activity.

 D.N.J. LBR 2016-1(b)(9).

         These Code provisions codify extensive and long-standing case law outlining a court’s

 responsibility in reviewing fee applications. See, e.g., Hensley v. Eckerhart, 461 U.S. 424, 434

 (1983) (court should deny fees for excessive or redundant hours); In re Busy Beaver Bldg. Ctrs.

 Inc., 19 F.3d 833, 842-43 (3d Cir. 1994) (court holds independent authority and responsibility to

 review fee applications for reasonableness of compensation); Lipsett v. Blanco, 975 F.2d 934

 (1st Cir. 1992) (court may reduce fee award if narrative of services is inadequate).

         In its discussion of fee allowances, the Supreme Court cautions attorneys to balance the

 cost of litigation against its expected result, noting that “the most critical factor is the degree of

 success obtained.” See Hensley v. Eckerhart, 461 U.S. at 436. In Hensley, the Court noted “[i]f

 … a plaintiff has achieved only partial or limited success, the product of hours reasonably

 expended on the litigation as a whole times a reasonable hourly rate may be an excessive

 amount.” See id. Further, attorneys are encouraged to pursue settlement negotiations prior to

 filing suit to save time and money for their clients and courts may reduce fees for a failure to do

 so. See Spegon v. Catholic Bishop, 175 F.3d 544, 552 (7th Cir. 1999). Non-complex cases that

 do not involve novel areas of law do not support large fee awards. See Clarke v. Frank, 960 F.2d

 1146, 1153 (2d Cir 1992) (fees cut by more than 70% due to non-complex nature of case).
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 Finally, courts should disallow hours expended by counsel on tasks that could be delegated to

 non-professional assistants to take advantage of lower hourly rates and to recognize non-billable

 tasks. See Halderman v. Pennhurst State Sch. & Hosp., 49 F.3d 939, 942 (3d Cir. 1995) (legal

 service rates not applicable when attorney provides services that could have been delegated); In

 re Worldwide Direct, Inc., 316 B.R. 637, 644 (Bankr. D. Del.2004 ) (maintaining notice list and

 calendar, preparing labels of creditors' addresses not services typically billed to non-bankruptcy

 clients and inappropriate in fee applications).

         The Third Circuit notes that a bankruptcy court's paramount consideration in approving

 professional fees is the accepted market rate. See In re Busy Beaver Bldg. Ctrs., Inc., 19 F.3d at

 849. “Like any sophisticated consumer of legal services, a bankruptcy court should compare the

 costs of equivalent practitioners of the art (including their billing structures) as well as the

 applicant's billing practices with equivalent clients.” See In Worldwide Direct, Inc. 316 B.R. at

 652, citing, Busy Beaver, 19 F.3d at 853. While Busy Beaver addressed fees incurred in a

 chapter 11 case, its direction applies equally as well to a chapter 13 case.


                                        Reasons for Reduction
         As noted by the District Court, at the original January 7, 2015 hearing before this Court

 on the fee application, the Court stated that Mr. Leinbach had done “a yeoman’s job in pulling

 these Debtors back from the brink, and correct[ing] mistakes that had been made earlier.” The

 Court stands by that statement. However, the fact that Mr. Leinbach did a yeoman’s job is not

 mutually exclusive with the fees that he charged being excessive.

         Though the Court stated that it was “just knocking $3,000 off” of Mr. Leinbach’s

 application and that it “didn’t cut [travel time] in half,” the overall fee reduction was based on

 both travel as well as fees that could have been delegated to a non-professional at a lower rate
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 and the fact that much of the litigation pursued in the case likely could have been avoided

 providing a greater return to the estate.

        The standard “no look” fee allowed for a chapter 13 filing in this district is $3,500.00. It

 has been determined that this is the appropriate cost of legal services for an average chapter 13

 case in this market. Mr. Leinbach charged the estate over $3,000.00 for travel alone. We

 recognize that Mr. Leinbach’s office is relatively far from both the standing Chapter 13 trustee’s

 office as well as the courthouse in Trenton. We further recognize that a litigant’s choice of

 counsel must be protected. However, it is customary in Bankruptcy Court fee applications to

 compensate for travel hours at fifty percent (50%) of the normal hourly rate. See In re

 McDermott, 2009 Bankr. LEXIS 2667, *22 (Bankr. D.N.J. Aug. 24, 2009); In re Brooks, 2007

 Bankr. LEXIS 1325, fn. 8, (Bankr. D.N.J. 2007). It is unclear if Mr. Leinbach reduced his fee

 for travel. His fee application contained a reduction of $1,044.00, but there is no evidence that

 the reduction is attributable solely to travel. Regardless, even if we were to attribute the full

 reduction to travel, the amount would not be sufficient. Charging for travel at the full hourly rate

 is excessive and this Court reduces Mr. Leinbach’s fee by 50% of the travel time, or $1,500.00.

        In addition to travel time, the Court’s reduction was also based on its impression that Mr.

 Leinbach’s fees were excessive. Excess fees beyond the standard “no look” fee of $3,500.00 are

 certainly recognized and allowed in atypical cases. In his narrative, Mr. Leinbach explains that

                “[t]he representation of the debtors entailed the preparation of two
                complete sets of schedules and statement [sic] of financial affairs, motion
                for disgorgement of fees which was granted, a motion for turnover of the
                debtors file from previous counsel, which was denied as moot, and
                appearances at the debtors creditors meeting as well as multiple
                confirmation hearings. That said, most of the increase above the normal
                workload in addition to the foregoing was due to the lack of the debtors
                financial records and financial statements…”
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 This recitation of events does not make this case atypical. Nevertheless, the Court recognizes

 that Mr. Leinbach was required to spend more time than the average in prosecuting this case.

        That being said, many of the time entries in Mr. Leinbach’s fee application are for tasks

 that should have been delegated to his legal assistant and charged at a lower hourly rate or to a

 secretary as a non-billable task. This Court finds the following tasks should have been billed at

 the rate of $120.00 per hour, rather than at Mr. Leinbach’s rate of $360.00 per hour:

        -   5/8/14 review notice to file B23 for financial management course                 .1
        -   5/9/14 telephone call to client to remind them to complete financial
            management course. [Note- Mr. Leinbach had charged .2 on the same
            day for another telephone call to the client regarding their need to
            complete the financial management course]                                        .1
        -   5/16/14 electronically file letter to Judge Gravelle, and proposed order         .1
        -   5/19/14 electronically file letter to Judge Gravelle                             .1
        -   5/19/14 make arrangements to appear I[sic] court call                            .1
        -   5/20/14 electronically file debtors revised schedules, B 22, declaration
            and chapter 13 plan                                                              .2
        -   5/23/15 e-mail to Bud Rockhill Re: cannot e-mail 341 docs trustees
            system will not accept-indicates case does not exist                             .1
        -   5/23/14 need P&L for time period 11/1/13-4/30/14                                 .1
        -   6/9/14 prepare certification of service and PDF                                  .2
        -   6/9/14 electronically file objection to the app, certification, and COS          .1
        -   6/16/14 bank rankings for court called in for tomorrow                           .1
        -   6/20/14 TCTC re taxes done? SOFA completed? Apt next week                        .1
        -   7/17/14 TCTC Taxes are done and filed, has info to amend SOFA                    .1
        -   7/9/14 [Note- this entry was out of chronological order] Complete
            changes to SOFA                                                                  .1
        -   8/15/14 e-mail from Jean Anderson re: need updated pay stubs                     .1
        -   8/15/14 e-mail from Jean Anderson, Re: insurance seduction R&B 22                .1
        -   10/3/14 telephone call with client Re: information needed to amend
            schedules for conversion. Date [Note- conversion granted and order
            entered 5/6/14, amended conversion order entered 5/28/14]                        .3
        -   10/6/14 TCT Shelly info needed for amended schedule need appointment
            to amend                                                                         .2
        -   10/7/14 telephone call client questions about dates, and financial records       .2
        -   10/7/14 TCF Shelly info to be provided – has it will drop off discussion
            of changes                                                                       .2
        -   10/10/14 TCTC re questions concerning the info dropped off time for
             appointment, must call Gary and will call back                                  .2
        -   10/10/14 TCFC appointment at 10:00 tomorrow ok, finish questions on
            info dropped off [NOTE- Mr. Leinbach charged 4.1 hours on 10/11/14
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              to meet with the debtors to “review records, modify schedules, review
              financial info, etc.”]                                                             .2
        -     10/11/14 PDF all documents signed by client and electronically file
              the same                                                                           .6
        -     10/15/14 review DCF notice Reagan confirmation hearing [NOTE-
              appears to be charged to wrong file]                                               .1
        -     10/16/14 review notice of confirmation hearing unmodified plan
              and calendar                                                                       .1
        -     10/17/14 review confirmation notice and calendar                                   .1
        -     11/25/14 adjournment request-calendar conflict                                     .2
        -     12/4/14 read ECF and calendar new confirmation date                                .1
        -     12/16/14 PDF and electronically file the application                               .1
        -     5/22/14 Need info transfer to daughter – college expenses and need
              P & L for 8/1/13-1/31/14 [NOTE- time charged at $180 per hour, which
              is not a rate applied to attorney or paralegal]                                    .2
        -     7/9/14 Appointment w/ shelly review records and amend and sign                     1.3
        -     7/10/14 meeting with Shelley to review information provided                        .5
 The majority of the entries listed above would be more appropriately performed by secretarial

 staff and not billed directly to the client. But, if the above tasks were charged at the paralegal

 rate of $120.00 per hour, instead of at the attorney rate, the total bill would be reduced by

 $1,608.00.

        We additionally note that certain undertakings by Mr. Leinbach had the result of a cost

 which far exceeded the benefit to the estate. Mr. Leinbach spent 8.7 hours objecting to the fee

 application of the chapter 7 trustee, charging $3,132.00 to the estate. His objection produced a

 reduction of $1,925.00 in fees allowed to the chapter 7 trustee. His time records show that the

 trustee contacted him to discuss settlement of his objection. No settlement was reached; Mr.

 Leinbach pursued his objection, and consequently cost the estate $1,207.00, generating a loss

 instead of a benefit. While an unsuccessful objection alone is not grounds for disallowing

 attorneys fees, a reduction in the amount is justified in this case. We do not feel that the amount

 charged is commensurate with the relative simplicity of the subject matter. Essentially, the result

 is that the general unsecured creditor body is paying the attorney $1,207.00, as they have lost out

 on that amount through the filing of the motion.
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        Ultimately, the Court opted to reduce Mr. Leinbach’s fee application by $3,000.00 on his

 total bill, or $1,956.00 on the amount applied for, due to a combination of the above factors.

 Though the Court’s calculations exceeded the $3,000.00 reduction, we chose to give Mr.

 Leinbach the benefit of the doubt in light of the good work he did on this case, and therefore

 reduced the fees awarded in this lower amount.



                                              Very truly yours,

                                              /s/ Christine M. Gravelle
                                              United States Bankruptcy Judge

 CMG:rtp
 Docket
